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MELlNDA HAAG
United States Attomey
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Chief, Civil Division

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Attomeys for the United States of America

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

UNITED STATES OF AMERICA; AND

THE STATES OF CALIFORNIA AND

No. CV 09-5604 JCS (LB)
NEVADA ex rel. KATHLEEN HAWKINS, `

UNITED STATES’ NOTICE OF ELECTION
TO INTERVENE; [P-RGPO'S`ED‘] ORDER

Plaintiffs and Relator,
v.

CATHOLIC HEALTHCARE WEST, itself,
and d/b/a

St. Jose h’s Hospital and Medical Center,
and d/b a Barrow Neurological Institute,
and d/b/a/ Mercy Gilbert Medical Center,
and d/b/a/ Chandler Regional Medical
Center; ET AL,

(FILED UNDER SEAL)

Defendants.

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1. Pursuant to 31 U.S.C. §§ 3730(b)(2) and (b)(4), the United States hereby notifies the
Court of its decision regarding intervention in this False Claims Act qui tam action. The United States
hereby elects to intervene in this action.

2. The parties have entered into a Settlement Agreement in this case, The parties are in the
process of executing a Settlement Agreement in this case, but final signatures were not obtained by
today’s intervention deadline. Defendants’ payment under the Settlement Agreement is due ten days

from the date of full execution. Under the terms of the Settlement Agreement, after receiving payment,

United States’ Notice Of Election To Intervene; [Proposed] Order
Case No.: CV-09-5604 JCS (LB) 1

 

 

 

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the United States and the Relator, Kathleen Hawkins, will file a stipulation of dismissal in this action
pursuant to the terms and conditions of the Settlement Agreement

3. The United States requests that the Court unseal: (1) Relator’s Complaint; First Amended
Complaint; and Second Amended Complaint; (2) the summons; (3) the scheduling order; (4) this Notice
of Election to Intervene, with (Proposed) Order to Unseal; and (5) all other matters occurring in this
action after the date the Court enters the unsealing order. The United States requests that all other
contents of the Court’s file in this matter (including, but not limited to, any applications filed by the
United States and/or States for extensions of the sixty-day investigative period, any applications for
partial lifting of the seal, and any orders previously entered in this matter) remain under seal and not be
made public or served upon Defendants. *

4. The parties do not anticipate any obstacles to executing the Settlement Agreement within
approximately the next week. All that remains to be done is for the parties to obtain the final signatures
on the agreement, for the Defendants to make payment under the agreement within ten days of the date
of full execution, and for the Plaintiffs to dismiss the case. Therefore, we respectfully suggest the
following procedure, which is set out in the accompanying proposed order: By'*October 31, 2014, the
United States would file a status report advising the Court whether the Settlement Agreement has been
fully executed. Should the agreement be fully executed by October 31, 2014, the Plaintiffs would then
file a dismissal by November 10, 2014 (after receiving Defendants’ settlement payment), or
alternatively, would file a status report by that date, explaining why the case is not being dismissed as

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currently anticipated

Respectfully submitted,

MELINDA HAAG
United States Attomey

DATED; october 24, 2014 By; %L-/

/IT.A C. DEISS /
ERICA B. HITCHINGS
Assistant United States Attorneys
Attorneys for the United States of America

United States’ Notice Of Election To Intervene; [Proposed] Order
Case No.: CV-09-5604 JCS (LB) 2

 

 

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[?Rei=es£-BTORDER

Upon consideration of the United States’ Notice of Election to Intervene, the Court rules as
follows.

IT IS ORDERED that:

l. The seal shall be lifted as to the Relator’s Complaint; First Amended Complaint and
Second Amended Complaint; the summons; the scheduling order; this Order and the accompanying
United States’ Notice of Election to Intervene; and all subsequent filings in this action.

2. All other previously filed contents of the Court’s file in this action shall remain under seal
and not be made public or served upon the Defendants.

3. By October 31, 2014, the United States shall file a status report advising the Court
whether the settlement agreement has been fully executed.

4. By November 10, 2014, the United States and Relator shall file a dismissal, or,

alternatively, a status report explaining why the case is not being dismissed as currently anticipated

IT IS SO ORDERED.

Dated: c U\q/d’\’Z/O M `

 

 

 

United States’ Notice Of Election To Intervene; [Proposed] Order
Case No.: CV-O9-5604 JCS (LB) 3

 

 

 

 

United States District Court

For the Northem District of Ca|ifomia

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UN|TED STATES D|STR|CT COURT
NORTHERN D|STR|CT OF CAL|FORN|A

SEALED, - No. 3:09-CV-5604 JCS
P|aintiff(s), SEALED .
CERT|F|CATE OF SERV\CE
v.
SEALED,
Defendant(s).

l, the undersigned, hereby certify that l am an employee in the Office of the Clerk, U.S. District
Court, Northern District of California.

That on October 28, 2014, l SERVED a true and correct cop of the attached, by placing said
copy in a postage paid envelope addressed to the person(s listed below, by depositing said
envelope in the U.S. Mai|; or by placing said copy into an inter-office delivery receptacle
located in the Office of the Clerk.

Matthew B. Pavone

Nolan and Auerbach, P.A.
Courtyard Square

750 Grante Ave., Suite 250
Novato, CA 94945

lla C. Deiss
Asst.US Attomey
450 Golden Gate Ave.

Box 36055
San Francisco, CA 94102

Dated: October 28, 2014

RlCHARD W. W|EK|NG, CLERK

BY: i<w\m L,- Hv'»-

Karen L. Hom, Courtroom Deputy

 

 

 

 

